              Case 21-40409-lkg       Doc 22       Filed 05/25/22   Page 1 of 2




                UNITED STATES BANKRUPTCY COURT FOR THE
                     SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                         )    IN PROCEEDINGS UNDER
                                               )    CHAPTER 7
DAVID RUSSELL FRY and,                         )
AMY ELIZABETH FRY,                             )
                                               )
         Debtors.                              )    Case No. 21-40409


                    MOTION TO COMPEL DEBTORS TO PROVIDE
                     TRUSTEE WITH COPIES OF TAX RETURNS

         COMES NOW, Dana S. Frazier, Trustee in the above-captioned case, and for her

Motion to Compel Debtors to Provide Trustee with Copies of Tax Returns, states as

follows:

         1.     Dana S. Frazier, is the duly and acting trustee in this case.

         2.     In order for the Trustee to perform the duties required of her by law, it is

necessary for her to review the Debtors’ 2021 income tax returns (federal and state).

         3.     On several occasions, the Trustee made written request to Debtors’

Attorney requesting the income tax returns with a copy to Debtors.

         4.     To date, Debtors have not delivered copies of their 2021 income tax

returns.

         WHEREFORE, the Trustee prays that this Court enter its order directing the

Debtors to deliver to the Trustee within 10 days their 2021 income tax returns.

                                               Respectfully Submitted

                                               /s/ Dana S. Frazier
                                               Dana S. Frazier, 06242921
                                               Chapter 7 Trustee




                                               1
           Case 21-40409-lkg     Doc 22       Filed 05/25/22   Page 2 of 2




                          CERTIFICATE OF SERVICE

I, the undersigned, do hereby certify that I served a copy of the Motion to Compel
Debtors to Provide Trustee Copies of Tax Returns by U.S. Mail or Electronic Mail to:


Brad Olson, Debtor's Attorney

U.S. Trustee



Dated: May 25, 2022


                                                   /s/ Dana S. Frazier
                                                   Dana S. Frazier, #06242921
                                                   Chapter 7 Trustee


Dana S. Frazier
Chapter 7 Trustee
Frazier Law Office LLC
P.O. Box 159
Murphysboro, IL 62966
Tel: 618-687-5707
Fax: 618-687-5710
frazierlw@frontier.com




                                          2
